988 F.2d 128
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.LAICH INDUSTRIES CORP. and Sports Products, Plaintiffs-Appellants,v.BASKIN-ROBBINS USA CO., Defendant-Appellee.
    Appeal No. 92-1486.
    United States Court of Appeals, Federal Circuit.
    Dec. 23, 1992.
    
      1
      DISMISSED.
    
    ORDER
    
      2
      Upon motion by counsel for Plaintiffs-Appellants, and with consent of Counsel for Appellee, Appellants' request for dismissal of the above captioned appeal without prejudice.
    
    
      3
      IT IS SO ORDERED.
    
    